                   Case 7:20-cv-04835-PMH Document 40 Filed 01/12/21 Page 1 of 2


As Plaintiff agrees that Defendants'
                                 Therequest
                                     Law isOffice
                                            appropriate (Doc.
                                                   of Delmas         A. Costin, Jr.
37), the application is granted.
                                          930 Grand Concourse, Suite 1F
The Minute Entry issued by the Court following theBronx, NY10451
                                                  December
            dacostin@dacostinlaw.com
15, 2020 conference is amended to direct the production of                           Tel: (718) 618-0589
payroll tax documents identifying Defendants' employees in
            www.dacostinlaw.com                                                      Fax: (347) 510-0099
2018 and 2019 as opposed to 2019 and 2020.
                                                                   December 30, 2020
The Court
       Viathanks
            ECF the parties for working cooperatively to
resolve this particular issue.
      The Hon. Philip M. Halpern
      United
The Clerk      States
          of the CourtCourthouse
                       is respectfully directed to terminate
motion sequence Street,
      500  Pearl  pendingRoom    1950
                            at Doc. 37.
      New York, NY 10007
SO ORDERED.                                                    Re: Whitcombe v. Lanza Corp et al.
                                                                   Case No. 20-cv-04835
_______________________
Philip M. Halpern
       Dear Judge Halpern:
United States District Judge

Dated: New York, New York
       JanuaryMichael
               12, 2021Marinaccio       and I collectively represent Defendants in this matter. This is a

       claim brought pursuant to Title VII of the Civil Rights Act of 1964 (Title VII) 42 USC §2000e et

       seq. and similar state law claims.         The Court ordered limited discovery to help determine

       whether the Court has jurisdiction. We ask that the Court clarify and modify its order dated

       December 15, 2020, which directed Defendants to provide the name of Defendants’ employees

       in 2019 and 2020. Defendants believe that the proper time period is 2018 and 2019 as supported

       by caselaw. Plaintiff does not consent.

                  The Court ordered production of payroll tax documents provided to New York State

       which identify the names and numbers of Defendants’ employees during the relevant time

       period.     The relevant time period is based on whether an employer has “fifteen or more

       employees for each working day in each of 20 or more calendar weeks in the current or

       preceding calendar year…” Courts consistently have held that the phrase "current calendar year" refers to

       the year in which the alleged discrimination occurred. Hernández-Miranda v Empresas DÍaz Massó, Inc., 651

       F3d 167, 174-175 (1st Cir 2011) (collecting cases) Komorowski v Townline Mini-Mart & Rest., 162 F3d

       962, 965 (7th Cir. 1998) (collecting cases).




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The Hon. Philip M. Halpern
December 30, 2020
Page 2 of 2

           In this case, plaintiff alleges that she was discriminated against in 2019. Accordingly, the

relevant time period is 2018 through 2019.

           A change in the court order will not impact the parties’ ability to comply with the

discovery deadline. Additionally, plaintiff is not prejudiced. She will obtain the proper two

years’ worth of New York State payroll tax documents which identify the names of Defendants’

employees. Further, this clarification will not impede the parties’ ability to conduct depositions

at Plaintiff’s request. Finally, Plaintiff was not working for Defendants in 2020, thus the number

of employees at that time is irrelevant.

           For the above stated reasons, Defendants respectfully request that the Court modify the

December 15, 2020 order to reflect the relevant time period of 2018 and 2019. Thank you for

your courtesy and cooperation in this matter.




                                                                Respectfully submitted,



By:            /s/                                              By:            /s/
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Court-06
